                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                                      Plaintiff,            Case No. 3:19-cr-00026-TMB-SAO-3

                         v.                                  ORDER ON DEFENDANT GLEN
                                                          BALDWIN’S ADDITIONAL MOTIONS IN
    GLEN BALDWIN,                                                 LIMINE (DKT. 822)

                                      Defendant.



                                            I.     INTRODUCTION

           Before the Court is Defendant Glen Baldwin’s Additional Motions in Limine (the

“Motions”). 1 The Government opposes the Motions. 2 For the following reasons, the Court

GRANTS in part and DENIES in part the Motions.

                                            II.    BACKGROUND

           Baldwin makes the following requests in the Motions:

           1. “Parties should give each other notice of their expected witnesses the day before calling

                them to testify,” 3

           2. “Instead of re-calling witnesses, the parties should be allowed to conduct cross-

                examination beyond the scope of the direct,” 4




1
    Dkt. 822 (Motions).
2
    Dkt. 937 (Response).
3
    Id. at 1.
4
    Id. at 2.

                                                      1

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           3. “Counsel for each party should be granted the right to conduct voir dire of prospective

                jurors for 30 minutes,” 5

           4. “Witnesses should only be allowed to testify while wearing clear masks without having

                any part of their faces concealed,” 6

           5. “Witnesses’ Curricula Vitae should be excluded from Evidence,” 7

           6. “Each defendant should be granted two additional peremptory strikes that may be

                exercised separately or jointly,” 8

           7. “The government should refer to Mr. Baldwin as “Mr. Baldwin” or the “accused” but

                not as the “defendant.” 9

           The Court granted in part and denied in part Baldwin’s first, second, third, fourth, and sixth

requests in the Trial Procedure Order issued March 4, 2022. 10 The Court will now address the

remaining issues.




5
    Id.
6
    Id. at 3.
7
    Id. at 5.
8
    Id. at 7.
9
    Id. at 8.
10
     Dkt. 1020 (Trial Procedure Order).

                                                        2

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                                    III.   LEGAL STANDARD

          “A motion in limine is a procedural device to obtain an early and preliminary ruling on the

admissibility of evidence” 11 and may be used to request evidence be either excluded or admitted

before trial. 12 Motions in limine are appropriate when the “mere mention of evidence during trial

would be highly prejudicial.” 13 “[I]n limine rulings are not binding on the trial judge, and the judge

may always change his mind during the course of a trial.” 14

          A party seeking to exclude evidence through a motion in limine must satisfy a “high

standard” and show the evidence is inadmissible on all potential grounds. 15 Otherwise,

“evidentiary rulings should be deferred until trial so that questions of foundation, relevancy and

potential prejudice may be resolved in proper context.” 16




11
  Barnard v. Las Vegas Metro. Police Dep’t, No. 2:03-cv-01524-RCJ-LRL, 2011 WL 221710, at
*1 (D. Nev. Jan. 21. 2011); Research Corp. Techs., Inc. v. Microsoft Corp., No. CV-01-658-TUC-
RCJ, 2009 WL 2971755, at *1 (D. Ariz. Aug. 19, 2009).
12
  See Fed. R. Evid. 103; United States v. Williams, 939 F.2d 721, 723 (9th Cir. 1991) (affirming
district court’s ruling in limine that prosecution could admit impeachment evidence under Fed. R.
Evid. 609).
13
  Barnard, 2011 WL 221710, at *1 (quoting Black’s Law Dictionary 1109 (9th ed. 2009));
Research Corp., 2009 WL 2971755, at *1.
14
     Ohler v. United States, 529 U.S. 753, 758, n.3 (2000).
15
  Barnard, 2011 WL 221710, at *1 (citations omitted); BNSF, 2010 WL 4534406, at *1 (citations
omitted); Research Corp., 2009 WL 2971755, at *1 (citations omitted).
16
  Barnard, 2011 WL 221710, at *1 (citations omitted); BNSF, 2010 WL 4534406, at *1 (citations
omitted); Research Corp., 2009 WL 2971755, at *1 (citations omitted).

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                                            IV.   DISCUSSION

              A. Witnesses’ Curricula Vitae are Inadmissible

            Baldwin argues that “curricula vitae (‘CV’s’) of experts and other witnesses should not be

admitted into evidence” because they (1) are inadmissible hearsay 17 and/or (2) are cumulative of

evidence that will be elicited on direct examination. 18 The Government “agrees that the parties

should not introduce CVs of any of their witnesses into evidence at trial.” 19 The Court GRANTS

Baldwin’s request accordingly. The parties shall not introduce witnesses’ CVs into evidence.

              B. The Government may Refer to Glen Baldwin as “Defendant”

            Baldwin asks the Court to prohibit the Government from calling him “defendant.” 20 He

argues that “[t]he label of ‘defendant’ is contrary to the presumption of innocence because it

implies a burden to defend.” 21

            The Court disagrees. As the Government argues, Baldwin is without question a

“defendant” as defined in the law; the word “defendant” is used throughout the indictment and the

Ninth Circuit’s model criminal jury instructions; the jury will know that Baldwin and his co-

defendants are the defendants in this case; and the Court will repeatedly tell the jury during jury

selection and trial that the defendants are presumed innocent, as are all defendants in criminal




17
     Dkt. 822 at 5 (citing Fed. R. Evid. 801; Fed. R. Evid. 802).
18
     Id. at 6 (citing Fed. R. Evid. 403).
19
   Dkt. 937 at 7. Although the Government asserts “CVs are sometimes admissible” in “unusual
circumstance[s],” it does not argue those circumstances are present here. Id.
20
     Dkt. 822 at 8.
21
     Id.

                                                    4

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proceedings. 22 The Court will not prohibit the Government from calling Baldwin “defendant” and

DENIES Baldwin’s request accordingly. However, the Court encourages the Government to refer

to the defendants by their names.

                                           V.    CONCLUSION

           For the foregoing reasons, the Court GRANTS in part and DENIES in part the Motions

as follows:

      1. Parties shall notify each other the evening before each trial day of all witnesses they intend

           to call the following day. 23

      2. Absent agreement among all parties as to the scope of examination for a particular witness,

           counsel will not be permitted to cross-examine witnesses on matters outside the scope of

           the direct examination and will instead be required to re-call witnesses. In the event the

           parties have unanimously agreed to permit counsel to cross-examine a witness beyond the

           scope of the direct examination, counsel may not ask leading questions of non-hostile

           witnesses. 24

      3. Counsel for each party will have 10 minutes to examine prospective jurors during each

           session, i.e., 10 minutes for every 25 prospective jurors. 25

      4. Witnesses may not wear masks while testifying. 26




22
   See Dkt. 937 at 11–12. The Government also cites a myriad of decisions denying similar
requests. Id. at 12.
23
     Dkt. 1020 at 3.
24
     Id. at 4.
25
     Id. at 2.
26
     Id. at 3.

                                                     5

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      5. Witnesses’ Curricula Vitae are excluded from evidence.

      6. The Court grants each defendant two additional peremptory challenges to be exercised

           individually. 27

      7. The Government may refer to Baldwin as “defendant.”

           IT IS SO ORDERED.

                                        Dated at Anchorage, Alaska, this 7th day of March, 2022.

                                                    /s/ Timothy M. Burgess
                                                    TIMOTHY M. BURGESS
                                                    UNITED STATES DISTRICT JUDGE




27
     Id. at 2.

                                                6

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